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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    CLYDE CHARLES HELMS
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   No. 1:11-cr-0384 AWI
                                                    )
12                         Plaintiff,               )   STIPULATION TO CONTINUE MOTIONS
                                                    )   HEARING; ORDER
13          v.                                      )
                                                    )   Date: April 2, 2012
14   CLYDE CHARLES HELMS,                           )   Time: 10:00 a.m.
                                                    )   Judge: Hon. Anthony W. Ishii
15                         Defendant.               )
                                                    )
16                                                  )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the motions hearing in the above-captioned matter now set for March 26, 2012, may be
20   continued to April 2, 2012, at 10:00 a.m. for a change of plea hearing.
21          This reason for the continuance is to permit counsel additional time for discussion and review of
22   the plea offer with the defendant. This continuance will conserve time and resources for both parties and
23   the court.
24   ///
25   ///
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii), and (iv).
4                                                                   BENJAMIN WAGNER
                                                                    United States Attorney
5
6    DATED: March 22, 2012                                    By:    /s/ Kathleen A. Servatius
                                                                    KATHLEEN A. SERVATIUS
7                                                                   Assistant United States Attorney
                                                                    Attorney for Plaintiff
8
9                                                                   DANIEL J. BRODERICK
                                                                    Federal Defender
10
11   DATED: March 22, 2012                                  By:      /s/ Ann H. Voris
                                                                    ANN H. VORIS
12                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
13                                                                  Clyde Charles Helms
14
15
16
17                                                     ORDER
18           IT IS SO ORDERED. Time is excluded pursuant to §§ 3161(h)(7)(A), (B)(ii), and (iv).
19   IT IS SO ORDERED.
20
     Dated:      March 22, 2012
21   0m8i78                                                       CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status Conference
     Hearing; Order                                       -2-
